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                 EXHIBIT B-074
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                    IN THE SUPERIOR COURT OF FULTON COUNTY

                                      STATE OF GEORGIA
                                                                                    FILED IN OFFICE


INRE:                                          )
SPECIAL PURPOSE GRAND JURY                     )      2022-EX-000024                    F,,,,   ,.,   ,v   __   _,

                                               )
Witness:                                       )      Judge Robert C. I. McBurney
Sidney Katherine Powell                        )


    CERTIFICATE OF MATERIAL WITNESS PURSUANT TO UNIFORM ACT TO
    SECURE THE ATTENDANCE OF WITNESSES FROM WITHOUT THE STATE,
      CODIFIED IN THE ST ATE OF GEORGIA AS O.C.G.A. § 24-13-90 ET SEQ.

       Upon the petition of Fani T. Willis, District Attorney, Atlanta Judicial Circuit, pursuant to

the Uniform Act to Secure the Attendance of Witnesses from Without the State, codified at

O.C.G.A. § 24-13-90 et seq., the Court issues the following Certificate under seal of this Court,

and further says as follows:

       1. A Special Purpose Grand Jury investigation commenced in Fulton County, Georgia,

           by order of this Court on May 2, 2022. See Order Impaneling Special Purpose Grand

           Jury Pursuant to O.C.G.A. § 15-12-100, et seq., "Exhibit A". The Special Purpose

           Grand Jury is authorized to investigate any and all facts and circumstances relating

           directly or indirectly to possible attempts to disrupt the lawful administration of the

           2020 elections in the State of Georgia. See Letter Requesting Special Purpose Grand

           Jury, "Exhibit B".

       2. While Georgia law authorizes special purpose grand juries to conduct both civil and

           criminal investigations, the Special Purpose Grand Jury's investigation is criminal in

           nature in that it was requested for the purpose of investigating criminal disruptions

          related to the 2020 elections in Georgia, and the Special Purpose Grand Jury is
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    authorized to make recommendations concerning criminal prosecution. Further, the

    authority for a special purpose grand jury to conduct a criminal investigation has been

    upheld by the Supreme Court of Georgia. See State v. Lampl, 296 Ga. 892 (2015).

    Accordingly, the provisions of the Uniform Act to Secure the Attendance of

    Witnesses from Without the State apply pursuant to O.C.G.A. § 24-13-92 et seq.

 3. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that Sidney Katherine Powell, born May 1, 1955, (hereinafter, "the Witness") is

    a necessary and material witness to the Special Purpose Grand Jury's investigation.

    The Court further finds that the Witness currently resides in Dallas, Dallas County,

    Texas.

4. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is known to be affiliated with both former President Donald

    Trump and the Trump Campaign.

5. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that in December 2021, L. Lin Wood, an attorney licensed in Georgia, stated in

    a public media interview with CNBC that he hosted meetings at a plantation in South

   Carolina for the purpose of exploring options to influence the results of the November

   2020 elections in Georgia and elsewhere. Wood stated that the Witness, Michael

   Flynn, Patrick Byrne, Doug Logan, and other individuals known to be associated with

   the Trump Campaign attended the meetings. Wood further stated that the Witness
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     asked him to assist in identifying Georgia residents who would be willing to serve as

     plaintiffs in Georgia election contest lawsuits.

 6. Based on the representations made by the State in the attached "Petition for

     Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

     finds that in June 2022, the United States House of Representatives Select Committee

    to Investigate the January 6th Attack released a deposition of the Witness in which

    she stated that in the weeks after the November 2020 election, former President

    Trump asked her "to be a special counsel to address the election issues and to collect

    evidence, and he was extremely frustrated with the lack of law enforcement by any of

    the government agencies that are supposed to act to protect the rule of law in our

    republic."

 7. Based on the representations made by the State in the attached "Petition for

    Certification of Need for Testimony Before Special Purpose Grand Jury" the Court

    finds that on August 16, 2022, the Georgia Bureau of Investigation confirmed that it

    is currently assisting the Georgia Secretary of State's Office with an investigation into

    an alleged breach of elections data in Coffee County, Georgia. Publicly reported e-

    mails indicate that the Witness coordinated with SullivanStrickler, a data solutions

    company, to obtain elections data from Coffee County, Georgia, in early January

    2021. There is further evidence in the public record that indicates that the Witness

    was involved in similar efforts in Michigan and Nevada during the same time period.

8. Based on the representations made by the State in the attached "Petition for

    Certification ofNeed for Testimony Before Special Purpose Grand Jury" the Court

    finds that the Witness is a necessary and material witness. The Witness possesses
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     unique knowledge concerning the logistics, planning, and subject matter of the

     meetings at the South Carolina plantation. The Witnesses possess unique knowledge

     concerning the logistics, planning, and outcome of efforts to obtain elections data in

     Georgia and elsewhere. The Witness possesses unique knowledge concerning

    relevant communications between the Witness, former President Donald Trump, the

    Trump Campaign, and other known and unknown individuals involved in the multi-

    state, coordinated efforts to influence the results of the November 2020 elections in

    Georgia and elsewhere. Finally, the Witness's anticipated testimony is essential in

    that it is likely to reveal additional sources of information regarding the subject ofthis

    investigation.

 9. The testimony of the Witness will not be cumulative of any other evidence in this

    matter.

 10. The Witness will be required to be in attendance and testify before the Special

    Purpose Grand Jury on Thursday, September 22, 2022, at 9:00 a.m., at the Superior

    Court of Fulton County, Fulton County Courthouse, 136 Pryor Street, 3rd Floor,

    Atlanta, Georgia 30303. The Court notes that the District Attorney anticipates that the

    Witness's testimony will not exceed one day.

11. The Office of the Fulton County District Attorney, in and for the State of Georgia,

    will pay all reasonable and necessary travel expenses and witness fees required to

    secure the Witness's attendance and testimony, in accordance with O.C.G.A. §24-13-

    90 et seq.

12. The Witness shall be given protection from arrest and from service of civil or

    criminal process, both within this State and in any other state through which the
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           Witness may be required to pass in the ordinary course of travel, for any matters

           which arose before the Witness's entrance into this State and other states, while

           traveling to and from this Court for the purpose of testifying for this case.

       13. The State of Georgia is a participant in a reciprocal program providing for the

           securing of witnesses to testify in foreign jurisdictions which likewise provide for

           such methods of securing witnesses to testify in their courts.

       14. This Certificate is made for the purpose of being presented to a judge of the District

           Court of Dallas County, Texas, by the Dallas County District Attorney or his duly

           authorized representative, who is proceeding at the request and on behalf of the

           Office of the Fulton County District Attorney.

       WITNESS MY HAND AND SEAL as a judge of the Superior Court of Fulton County,

Georgia,             v,   J.
      This the   u__day of August, 2022.

                                                     Hon. Robert C. I. Mc urney
                                                     Superior Court of Fulton County
                                                     Atlanta Judicial Circuit
                                                     State of Georgia
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                    Exhibit A
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IN RE: REQUEST FOR
       SPECIAL PURPOSE
       GRAND JURY

               ORDER APPROViINGREQUEST FOR SPECIAL PURPOSE
               GRAND JURY PURSUANT TO O.C.G.A.&15-12-100,et seq.

       The District Attorney for the AtlantaJudicialCircuitsubmittedto the judges of the

SuperiorCowt of Fulton Countya requestto impanela specialpurposejury for the purposesset

forth in that request. This request was consideredand approvedby a majority of the total

numberof the judges of this Court, as requiredby 0.C.G.A. §15-12-IO0(b).

       IT IS THEREFORE ORDEREDthat a specialpurposegrandjury be drawn and

impaneledto serve as provided in O.C.G.A.§ 15-12-62.1,15-12-67,and 15-12-100,to

commenceon May 2, 2022, and continuingfor a periodnot to exceed 12 months. Suchperiod

shall not include any time periodswhen the supervisingjudge detennines that the special

purposegrand jury cannot meet for safety or otherreasons,or any time periods when no!lDal

court operations are suspendedby order of the SupremeCourtof Georgia or the Chief Judgeof

the Superior Court. The special purpose grandjury shallbe authorizedto investigateany and all

facts and circumstances relating directly or indirectlyto alleged violationsof the laws of the

State of Georgia, as set forth in the requestof the DistrictAttorneyreferenced herein above.

       Pursuant to O.C.G.A. § 15-12-IO!(a),the HonorableRobert C. I. McBurneyis hereby

assignedto supervise and assist the specialpurposegrandjury, and shall charge said special

purpose grandjury and receive its reports as providedby law.
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       This authorization ahall include the investigation of any overt acts or predicate acts

relating to the subject of the special purpose grand jmy's investigative purpose. The special

purpose grand jury, when making its presentments and reports, pursuant to O.C.G.A. §§ 15-12-

71 and 15-12-101, may make recommendations concerning criminal prosecution as it shall see

fit. Furthermore, the provisions ofO.C.G.A. § 15-12-83 shall apply.

       This Court also notes that the appointment of a special purpose grand jury will pennit the

time, efforts, and attention of the regular grand jnry(ies) impaneled in this Circuit to continue to

be devoted to the consideration of the backlog of criminal matters that has accumulated as a

result of the COVID-19 Pandemic.

        IT IS FURTHER O·ru,.,u:,..i;,,c{~is       Order shall be filed in the Office of the Clerk of

the Superior Court of Fulto       unt.        \

        SO ORDERED, TH                      OF ••\)r'--'-+--'i-----+---'    2022.




                                                  S. BRASHER~IEF           WOGE
                                Superior Court of Fulton County
                                Atlanta Judicial Circuit
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                        Exhibit B
                                                                    '
                                                                    i
                                                                    I
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                    OFFICE OF THE FULTONCOUNTYDISTRICTATTORNEY
                                ATLANTAJUDrCIALCIRCUIT
                             136PRYORSTREET SW,3RDFLOOR
                                 ATLANTA,GEORGIA30303
!%"111Jr(JI;&,;                                            TELEPHONE404-612·4639
DistrictAttorney



    The HonorableChristopher S. Brasher
                                                                         tD'l.2.·-E.)(- DODD/1
    ChiefJudge, Fulton County SuperiorCourt                                FILED IN OFFICE
    FultonCountyCourthouse                                                                       ,-()
    185CentralAvenue SW, Suite T-8905
    Atlanta, Georgia30303

     January20, 2022

    Dear Chief Judge Brasher:

    I hope this Jetterfinds you well and in goodspirits.Pleasebe advisedthat the DistrictAttorney's
     Officehas received information indicatinga reasonableprobabilitythat the State of Georgia's
    administrationof elections in 2020, includingthe State's electionof the Presidentof the United
    States,was subject to possible criminaldisruptions.Our officehas also learnedthat individuals
    associatedwith these disruptionshave contactedotheragenciesempoweredto investigatethis
    matter,includingthe Georgia Secretaryof State,the GeorgiaAttorneyGeneral,and the United
    StatesAttorney's Office for the NorthernDistrictof Georgia,leaving this office as the sole
    agencywithjurisdiction that is not a potentialwitnessto conductrelatedto the matter.As a
    result,our officehas opened an investigationinto any coordinatedattemptsto unlawfullyalter
    the outcomeof the 2020 electionsin this state.

    Wehave made efforts to interviewmultiplewitnessesand gatherevidence,and a significant
    numberof witnessesand prospectivewitnesseshave refusedto cooperatewith the investigation
    absenta subpoenarequiring their testimony.By way of example,GeorgiaSecretaryof State
    BradRaffensperger,an essentialwitnessto the investigation,has indicatedthat he will not
    participatein an interview or otherwiseoffer evidenceuntil he is presentedwith a subpoenaby
    my office.Pleasesee Exhibit A, attachedto this letter.

    Therefore,I am hereby requesting,as the elected DistrictAttorneyfor Fulton County,pursuant
    to O.C.G.A.§ 15-12-100et. seq., that a special purposegrandjury be impaneledfor the purpose
    of investigatingthe facts and circumstancesrelatingdirectlyor indirectlyto possibleattemptsto
    disruptthe lawfuladministrationof the 2020 electionsin the State of Georgia.Specifically,a
    specialpw-posegrandjury, which will not have the authorityto return an indictmentbut may
    makerecommendationsconcerningcriminalprosecutionas it shall see fit, is needed for three
    reasons:first, a special purpose grandjury can be impaneledby the Court for any time period
    requiredin order to accomplish its investigation,whichwill likely exceed a normal grandjury
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      tenn; second, the special purpose grandjury wouldbe empoweredto reviewthis matter and this
      matteronly, with an investigatoryfocus appropriateto the complexityof the facts and
      circumstancesinvolved; and third, the sittinggrandjury wouldnot be requiredto attemptto
      addressthis matter in addition to theirnormalduties.

     Additionally,I am requesting that,pursuantto O.C.G.A.§ 15-12-101,a Fulton CountySuperior
     CourtJudge be assigned to assist and supervisethe specialpurposegrandjury in carryingout its
     investigationand duties.

     I have attacheda proposed order impanelingthe specialpurposegrandjury for the consideration
     of the Court.

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   ~\_A)~
<_!~Ii
    - strictAttorney, Atlanta Judicial Circuit

     ExhibitA: Transcript of October 31, 2021 episodeof ii.feetthe Press on NBC News at 26:04
     (videoarchivedat https://www.youtube.com/watch?v=B71cBRPgt9k)
     ExhibitB: Proposed Order

     cc:
     TheHonorableKimberly M. EsmondAdams
     TheHonorableJane C. Barwick
     The HonorableRachelle Carnesdale
     The HonorableThomas A. Cox, Jr.
    The HonorableEric Dunaway
    The HonorableCharles M. Eaton, Jr.
    The HonorableBelinda E. Edwards
    TheHonorableKelly Lee Ellerbe
    TheHonorableKevin M. Fanner
    The HonorableUral Glanville
    The HonorableShakura L. Ingram
    The HonorableRachel R. Krause
    The HonorableMelynee Leftridge
    The HonorableRobert C.I. McBurney
    The HonorableHenry M. Newkirk
    The HonorableEmily K. Richardson
    The HonorableCraig L. Schwall, Sr.
    The HonorablePaige Reese Whitaker
    The HonorableShennela J. Williams
    FultonCol.Ulty
                 Clerk of Superior Court Cathelene'Tina" Robinson
